Case 2:05-cr-20014-.]P|\/| Document 16 Filed 06/03/05 Page 1 of 7 Page|D ZW
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‘e"‘f.D. G;“' TN, ?JTE!-.FJPH[S
-v- 2:050R20014-01-Mi

EDD|E D. JETER
Jacob Erwin CJA
Defense Attorney
200 Jefferson Avenue, #1313
Memphis, TN 38103

 

 

JUDGMENT IN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the information on January 21, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tit|e & Section NM€_LM Offen$e Numbel‘lsl
Conc|udec|
18 U.S.C. § 371 Conspiracy to Defraud the United 05/09/2004 1

States

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |V|andatory
Victims Restitution Act of 1996.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of |mposition of Sentence:
Defendant’s Date of Birth: 09/04/1946 June 2, 2005
Deft’s U.S. |V|arshal No.: 16203-076

Defendant’s |V|ailing Address:
305 South Be||evue, #1006

Memphis, TN 38104 QWA() M( OLQQ

JON F’H|PPS MCCALLA
UN| ED STATES D|STR|CT JUDGE

 

|`\ June \Z , 2005

Thls document entered on the docket sheet in comp|ia ce ‘
with nu:e 55 and/or 32(b) rlach on _@_'_(g“_O_i

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Case No: 2:050R20014-01-M| Defendant Name: Eddie D. JETER Page 2 of 6
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 17 Months (or 1 Vear and 5 Months) to be served
concurrently with cases 2:97CR20234-01, 2:97CR20235-01, 2:97CR20236-01,
2:97CR20237-01, 2:97CR20238-01, 2:97CR20239-01, 2:97CR20240-01 & 2:97CR20241-
01 for a total term of incarceration of 17 Months (or 1 Vear and 5 Months).

The Court recommends to the Bureau of Prisons: the defendant be incarcerated
at a facility near l\/lemphis, TN.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States |Vlarsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment
UNlTED STATES MARSl-|AL
By:

 

Deputy U.S. |\/larsha|

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Case No: 2:050R20014~01-Ml Defendant Name: Eddie D. JETER Page 3 of 6

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 ¥ears.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prlsons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a flrearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply With the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first hve days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shail submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofhcer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

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Case No: 2:05€R20014-01-Nl| Defendant Name: Eddie D. JETER Page 4 of 6
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal lvlonetary Penalties sheet ofthisjudgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall make full financial disclosure
The defendant shall be prohibited from incurring new credit charges, opening additional lines
of credit or making an obligation for any major purchase Without the prior approval of the
Probation Offlcer.

3. The defendant shall provide third-party risk notification.

4. The defendant shall submit to drug and alcohol testing and treatment programs as directed
by the Probation Offlce.
5. The defendant shall cooperate With DNA collection as directed by the Probation Office.

CRlM|NAL MONETARY PENALT|ES

The defendant shall paythefollowing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments, The defendant shall
pay interest on any fine or restitution of more than $2,500, uniess the fine or restitution is
paid in full before the fifteenth day after the date of judgmentl pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00 $26,904.75

The Special Assessment shall be due immediately

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F|NE
No fine imposed.
REST|TUT|ON

Restitution in the amount of $26,904.75 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed below.

Priority
Total Amount of Order
Name of payee Amount Restitution Ordered or
of Loss Percentage
of Payment
Regions Financial $26,904.75 $26,904.75
Corporation,

Attn: Ronnie Gross
5100 Poplar Avenue,
Suite 150

lVlemphis, TN 38137

lfthe defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified othenivise in the priority order or percentage payment
column above

The amount of loss and the amount of restitution ordered Will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page

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Case No: 2:05CR20014-01-N|l Defendant Name: Eddie D. JETER Page 8 of 6

SCHEDULE OF PAYMENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Speciai instmctions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution is regular monthly installments of not less than
10% of gross monthly income

Unless the court has expressly ordered othenivise in the special instructions above, if thisjudgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financial ResponsibilityProgram, are made to the clerk of the
court, unless othenivise directed by the court, the probation officerl or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

 

UNITED s`…ATEIsTIC COUR - WSTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
ease 2:05-CR-20014 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

.1 acob E. Erwin
WAGERMAN LAW FIRM
200 .1 efferson Avenue

Ste. 13 13

1\/1emphis7 TN 38103

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

